                                                                         SO ORDERED.


                                                                          Dated: April 18, 2018


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                                                                         Eddward P. Ballinger Jr., Bankruptcy Judge
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6                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF ARIZONA
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8     In Re:                                            Chapter 13

9
                                                        Case No.:2:17-bk-10288-EPB
      Natalie Elayne Johnson,
10                    Debtor.
                                                        ORDER APPROVING PAYMENT OF
11                                                      ADMINISTRATIVE EXPENSE

12       The court has received Debtor’s Chapter 13 Plan and Application for Payment of
13    Administrative Expenses and Notice of Date to File Objection and the Certificate of Service and
14    No Objection to Order Approving Payment of Administrative Expense. The Court finds that
15    Debtor’s attorney agreed to perform all of the services described in Part (F) of the chapter 13
16    plan for a total sum of $4,310.00 and that Debtor’s attorney received $190.00 prior to filing this
17    case. The Court further finds that Debtor’s attorney performed all of the services agreed,
18    including a motion to incur debt and a stipulated order confirming the plan (though initially
19    rejected by the Debtor). For good cause appearing,
20             IT IS ORDERED, authorizing the Chapter 13 trustee to pay to Debtor’s attorney the
21    sum of $4,310.00 for a total fee award of $4,500.00.
22             IT IS FURTHER ORDERED, the allowed administrative expenses are to be paid
23    through the Plan upon confirmation or upon dismissal of the Debtor’s Chapter 13 case, to the
24    extent that funds are available, and provided that such payment does not prejudice creditors with
25    equal or higher priority.
26                                       DATED AND SIGNED ABOVE
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     Case 2:16-bk-10288-EPB          Doc 78 Filed 04/18/18 Entered 04/18/18 12:09:16                Desc
                                      Main Document    Page 1 of 1
